 Case 19-13121-KHK               Doc 18 Filed 10/06/19 Entered 10/07/19 00:24:43                         Desc Imaged
                                      Certificate of Notice Page 1 of 2
                                         United States Bankruptcy Court
                                               Eastern District of Virginia
                                                   Alexandria Division
TO:                                                       In re: Bluepoint Medical Associates, LLC
Bluepoint Medical Associates, LLC
ATTN: Anabelle Merisme                                    Case Number 19−13121−KHK
203 Avenue A, NW, Suite 300                               Chapter 11
Winter Haven, FL 33881                                    .

YOU ARE ADVISED AS FOLLOWS CONCERNING PAPERS FILED BY YOU WHICH CONTAIN
DEFICIENCIES:

Proof of Claim #2−1 on behalf of Bluepoint Medical Associates, LLC in the amount of $8,954.24.

CLAIMS/TRANSFER OF CLAIM:

        Not accompanied by "Request for Waiver to File by Computer Diskette or Conventionally."* Parties
        represented by attorneys and governmental units and institutional entities must file via the Internet or complete
        and file a Request for Waiver in order to file by computer diskette or conventionally. Future noncompliant
        filings will be forwarded to the Court for determination/appropriate action.

        Document does not appear to be filed in the correct case. Please review this filing for possible error, and file it
        in the correct case, as appropriate.

        Official Form 2100A − Transfer of Claim Other Than For Security.* The transfer is NOT in substantial
        compliance with the Procedural Official Form Official 2100A.

  X     Official Form 410 − Proof of Claim* − not attached to entry or attached form not in substantial compliance
        with Official Form.

        Official Form 2100A − Transfer of Claim Other Than For Security.* A transfer of claim fee of $25.00 is due
        and owing. Please make payment IMMEDIATELY, so that your transfer may be processed.



*A copy of the above−referenced form may be obtained from the Court's web site at www.vaeb.uscourts.gov

Date: October 4, 2019                                     CLERK, UNITED STATES BANKRUPTCY COURT
                                                          By /s/ Dayna Marie Huntington, Deputy Clerk
[igclaimsvDec2015.jsp]                                    Direct Dial Telephone No. 703
        Case 19-13121-KHK              Doc 18 Filed 10/06/19 Entered 10/07/19 00:24:43                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 19-13121-KHK
Bluepoint Medical Associates, LLC                                                                          Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: huntingto                    Page 1 of 1                          Date Rcvd: Oct 04, 2019
                                      Form ID: iclaim15                  Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 06, 2019.
db             +Bluepoint Medical Associates, LLC,   14631 Lee Highway,   Suite 413,
                 Centreville, VA 20121-5835
               +Bluepoint Medical Associates, LLC,   Attn: Anabelle Merisme,   203 Avenue A, NW, Suite 300,
                 Winter Haven, FL 33881-4540

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 06, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 4, 2019 at the address(es) listed below:
              Gordon Stewart Young    on behalf of Creditor   Financial Pacific Leasing, Inc.
               gordon.young@lf-pc.com, pierce.murphy@lf-pc.com;ecf@lf-pc.com
              Jack Frankel    on behalf of U.S. Trustee John P. Fitzgerald, III jack.i.frankel@usdoj.gov,
               USTPRegion04.ax.ecf@usdoj.gov;paula.f.blades@usdoj.gov
              John P. Fitzgerald, III    ustpregion04.ax.ecf@usdoj.gov
              John T. Donelan    on behalf of Debtor   Bluepoint Medical Associates, LLC donelanlaw@gmail.com
              Joseph A. Guzinski    on behalf of U.S. Trustee John P. Fitzgerald, III
               joseph.a.guzinski@usdoj.gov, USTPRegion04.ax.ecf@usdoj.gov
                                                                                              TOTAL: 5
